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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   ROGER YANG
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-00328 WBS

12                                  Plaintiff,           UNITED STATES’S MOTION FOR ORDER
                                                         PURSUANT TO 18 U.S.C. §§ 6002-6003
13                           v.                          GRANTING IMMUNITY AND REQUIRING
                                                         TESTIMONY – HOWARD WING
14   ROBIN DIMICELI, et al.,

15                                   Defendants.

16

17          The United States of America hereby moves this Honorable Court for an order compelling

18 Howard Wing to testify and produce evidence pursuant to the provisions of Title 18, United States Code,

19 Section 6001, et. seq., and respectfully represents as follows:

20          1.       Pursuant to Rule 15 of the Federal Rules of Criminal Procedure, Howard Wing has been

21 subpoenaed to testify at deposition to preserve his testimony for trial in this matter by the United States;

22          2.       Through his attorney Benjamin Galloway of the Federal Public Defender’s Office, Mr.

23 Wing has informed the United States that he refuses to testify and or allow his testimony to be admitted

24 at trial with respect to his knowledge regarding conduct by the defendants in this case and in related

25 cases concerning loan applications submitted to lending institutions with respect to the charged fraud

26 scheme in the above-referenced cases, as well as his own involvement in the fraud scheme, by invoking

27 his constitutional privilege against self-incrimination;

28
      USA Mot. for Immunity and Requiring Testimony      1


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                 Case 2:12-cr-00328-WBS Document 92 Filed 09/21/15 Page 2 of 7


 1          3.       In the judgment of Benjamin B. Wagner, United States Attorney, the testimony of

 2 Howard Wing is necessary to the public interest; and

 3          4.       Kenneth A. Blanco, an Deputy Assistant Attorney General, has approved this application

 4 for an order instructing Howard Wing to testify pursuant to 18 U.S.C. § 6003 and 28 C.F.R. § 0.175(a).

 5          WHEREFORE, pursuant to the provisions of 18 U.S.C. §§ 6001, et seq., the United States of

 6 America requests that the Court order Howard Wing to give testimony and produce all evidence relating

 7 to all matters within his knowledge about which he may be asked to testify regarding his knowledge

 8 regarding conduct by the defendants and defendants in related cases concerning loan applications

 9 submitted to lending institutions with respect to the charged fraud scheme in the above-referenced case,

10 as well as his own involvement in the fraud scheme,

11          In support of this motion, the United States of America submits herewith the attached

12 Memorandum of Points and Authorities and the Declaration of Assistant U.S. Attorney Todd A. Pickles.

13                                  I.      I. POINTS AND AUTHORITIES

14          The immunity provisions of Title 18, United States Code, Section 6002, et seq., provide in

15 pertinent part as follows:

16          Section 6002

17                   Whenever a witness refuses, on the basis of his privilege against self-
                     incrimination, to testify or provide other information in a proceeding
18                   before or ancillary to--

19                   (1) a court or grand jury of the United States,

20                                                       ***

21                   and the person presiding over the proceeding communicates to the witness
                     an order issued under this title, the witness may not refuse to comply with
22                   the order on the basis of his privilege against self-incrimination; but no
                     testimony or other information compelled under the order (or any
23                   information directly or indirectly derived from such testimony or other
                     information) may be used against the witness in any criminal case, except
24                   a prosecution for perjury, giving a false statement, or otherwise failing to
                     comply with the order.
25
     18 U.S.C. § 6002.
26
            Section 6003
27
                    In the case of any individual who has been or may be called to testify or
28                  provide other information at any proceeding before or ancillary to a court
      USA Mot. for Immunity and Requiring Testimony      2


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              Case 2:12-cr-00328-WBS Document 92 Filed 09/21/15 Page 3 of 7


 1                  of the United States or a grand jury of the United States, the United States
                    district court for the judicial district in which the proceeding is or may be
 2                  held shall issue, in accordance with subsection (b) of this section, upon the
                    request of the United States attorney for such district, an order requiring
 3                  such individual to give testimony or provide other information which he
                    refuses to give or provide on the basis of his privilege against self-
 4                  incrimination, such order to become effective as provided in section 6002
                    of this title.
 5
                    (b) A United States attorney may, with the approval of the Attorney
 6                  General, the Deputy Attorney General, the Associate Attorney General, or
                    any designated Assistant Attorney General or Deputy Assistant Attorney
 7                  General, request an order under subsection (a) of this section when in his
                    judgment--
 8
                            (1) the testimony or other information from such individual may
 9                  be necessary to the public interest; and

10                         (2) such individual has refused or is likely to refuse to testify or
                    provide other information on the basis of his privilege against self-
11                  incrimination.

12
     18 U.S.C. § 6203. The aforesaid statute is valid and constitutional, and orders issued pursuant thereto
13
     are likewise valid. United States v. Kastigar, 406 U.S. 441 (1972).
14
                                                           Respectfully submitted,
15
     Dated: September 21, 2015                             BENJAMIN B. WAGNER
16                                                         United States Attorney

17                                                         /s/ Todd A. Pickles
                                                           TODD A. PICKLES
18
                                                           ROGER YANG
19                                                         Assistant United States Attorneys

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      USA Mot. for Immunity and Requiring Testimony       3


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   United States Attorney
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 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
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 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:12-CR-00328 WBS

12                                     Plaintiff,          DECLARATION OF TODD A. PICKLES RE:
                                                           MOTION FOR ORDER PURSUANT TO
13                             v.                          18 U.S.C. §§ 6002-6003 GRANTING IMMUNITY
                                                           AND REQUIRING TESTIMONY – HOWARD
14   ROBIN DIMICELI, et al.,                               WING

15                                     Defendants.

16

17
             I, Todd A. Pickles, declare as follows:
18
             1.       I am an Assistant United States Attorney for the Eastern District of California.
19
             2.       I have advised United States Attorney Benjamin B. Wagner, or a person delegated with
20
     his authority, that Howard Wing will be called to testify at trial in this matter.
21
             3.       I have presented the facts of the trial proceedings to Mr. Wagner or his designee, and in
22
     his judgment it is likely that Howard Wing may refuse to testify at trial, including any deposition
23
     conducted under Rule 15 of the Federal Rules of Criminal Procedure, and his testimony is necessary to
24
     the public interest.
25
             4.       An authorized Deputy Assistant Attorney General of the United States has approved the
26
     Application for an Order instructing witness Howard Wing to testify under the provisions of l8 U.S.C.
27
     § 6003 and 28 C.F.R. § 0.175(a). A copy of the letter from Kenneth A. Blanco, Deputy Assistant
28
       Declaration of Todd Pickles re: USA Mot. for        1
       Immunity and Requiring Testimony

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 1 Attorney General, Criminal Division, Department of Justice, expressing said approval is attached hereto

 2 as Exhibit “A.”

 3          I declare under penalty of perjury that the foregoing is true and correct. Executed this September

 4 21, 2015, at Sacramento, California.

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                                                               /s/ Todd A. Pickles
 7
                                                               TODD A. PICKLES
 8                                                             Assistant United States Attorneys

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      Declaration of Todd Pickles re: USA Mot. for      2
      Immunity and Requiring Testimony

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              Case 2:12-cr-00328-WBS Document 92 Filed 09/21/15 Page 6 of 7


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 8                               IN THE UNITED STATES DISTRICT COURT

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10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-00328 WBS

12                                 Plaintiff,            ORDER PURSUANT TO
                                                         18 U.S.C. §§ 6002-6003 GRANTING IMMUNITY
13                          v.                           AND REQUIRING TESTIMONY – HOWARD
                                                         WING
14   ROBIN DIMICELI, et al.,

15                                 Defendants.

16

17

18          NOW, THEREFORE, IT IS ORDERED pursuant to 18 U.S.C. § 6002 that Howard Wing give

19 testimony or provide other information which he refuses to give or to provide information with respect

20 his knowledge regarding conduct by the defendants and defendants in related cases concerning loan

21 applications submitted to lending institutions with respect to the charged fraud scheme in the above-

22 referenced case, as well as his own involvement in the fraud scheme, in this case on the basis of his

23 privilege against self-incrimination as to all matters about which he may be asked to testify in this trial

24 or at any deposition conducted under Rule 15 of the Federal Rules of Criminal Procedure.

25          IT IS FURTHER ORDERED that no testimony or other information compelled under this order,

26 or any information directly or indirectly derived from such testimony or other information, shall be used

27 against Howard Wing in any criminal case, except that Howard Wing shall not be exempted by this

28 order from prosecution for perjury, giving a false statement pursuant to this order, or otherwise failing to



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             Case 2:12-cr-00328-WBS Document 92 Filed 09/21/15 Page 7 of 7


 1 comply with this order, and that immunity granted herein is co-extensive with 18 U.S.C. § 6002.

 2         IT IS SO ORDERED.

 3 Dated: September 21, 2015

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                                                 EXHIBIT A
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